
750 So.2d 980 (1999)
STATE of Louisiana
v.
Shawn TOUISSANT.
No. 99-K-1789.
Supreme Court of Louisiana.
November 24, 1999.
Denied. Result correct.
KNOLL, J., not on panel.
CALOGERO, C.J., would grant the writ.
LEMMON, J., dissents from the denial of the application. The trial judge has almost unlimited discretion in accepting or rejecting race-neutral reasons given by the prosecutor after exercising a peremptory challenge. Here, the prosecutor rejected the prosecutor's reasons, but took no further action. At that point, the trial judge was required either to reinstate the juror in the venire or to dismiss the entire panel and select a new jury from a new petit venire. Batson v. Kentucky, 476 U.S. 79, 100 n. 24, 106 S.Ct. 1712, 90 L.Ed.2d 69 (1986). The judge's failure to take either action requires reversal of the conviction.
